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 8                          UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
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11    ALVIN TAYLOR,                      )
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12                   Plaintiff(s),       )       No. C07-1215 BZ
                                         )
13            v.                         )       ORDER GRANTING DEFENDANTS’
                                         )       MOTION TO DISMISS
14    RIVER ROCK CASINO, et al.,         )
                                         )
15                                       )
                     Defendant(s).       )
16                                       )
17            Plaintiff Alvin Taylor brought this wrongful death action
18    against defendants River Rock Casino, Vern Jenkins, and
19    unnamed security guards of the River Rock Casino, alleging
20    that defendants negligently caused the death of plaintiff’s
21    wife.1       Compl. ¶¶ 7-8.    Defendants moved to dismiss the
22    complaint on the principal ground that it was barred by tribal
23    sovereign immunity.       In reviewing the complaint, I noticed
24    that it did not contain a statement of the grounds upon which
25    the court’s jurisdiction depends as required by Rule 8(a).          It
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               All parties have consented to the jurisdiction of a
     magistrate judge, pursuant to U.S.C. § 636(c) for all
28   proceedings, including entry of final judgment.

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 1   did not cite the jurisdictional statute plaintiff invoked.   At
 2   best it suggested plaintiff believes there is federal
 3   jurisdiction because the tort occurred on an Indian
 4   reservation and at least some of the defendants are Indians.
 5   I then raised the issue of subject matter jurisdiction sua
 6   sponte and ordered each side to address this issue in a future
 7   filing.   Plaintiff did not file a surreply as ordered.
 8   Defendants argued that this court has “federal question”
 9   jurisdiction under 28 U.S.C. Section 1331, because plaintiff’s
10   complaint alleges that defendants have waived sovereign
11   immunity.   See Compl. ¶ 5; Defs.’ Reply at 12-13.
12        Defendants’ argument flies in the face of the “well-
13   pleaded complaint rule”, which requires federal jurisdiction
14   to appear on the face of a properly pleaded complaint.
15   Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).
16   Federal jurisdiction cannot rest on the anticipation of a
17   federal defense.   Id. at 393.   In Oklahoma Tax Commission v.
18   Graham, the Supreme Court ruled that subject matter
19   jurisdiction was lacking where the Chickasaw Nation removed a
20   complaint seeking to collect unpaid taxes even though it
21   intended to assert its immunity from suit.    Federal
22   jurisdiction “is not affected by the fact that tribal immunity
23   is governed by federal law,” because the presence “of a
24   federal immunity to the claims asserted does not convert a
25   suit otherwise arising under state law into one which, in the
26   statutory sense, arises under federal law.”   489 U.S. 838, 841
27   (1989); see also Niagara Mohawk Power Corp. v. Tonawanda Band
28   of Seneca Indians, 862 F. Supp. 995, 1000 (W.D.N.Y.

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 1   1994)(dismissing a complaint filed against Indian tribe for
 2   lack of subject matter jurisdiction).
 3           Because plaintiff’s complaint alleges only a non-federal
 4   tort action, and merely anticipates a defense of sovereign
 5   immunity, it fails to meet the “arising under” standard
 6   required for Section 1331 jurisdiction.                      Neither party has
 7   suggested any other basis for jurisdiction, and I know of
 8   none.     Without subject matter jurisdiction, this Court cannot
 9   continue to hear this case.                For these reasons defendants’
10   motion is GRANTED, and plaintiff’s complaint is DISMISSED.
11   Dated: July 10, 2007
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                                                Bernard Zimmerman
13                                       United States Magistrate Judge
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28   g:\bzall\-bzcases\taylor v. river rock casino\order granting dismissal mot.bzversion.


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